

Matter of Save Monroe Ave., Inc. v Town of Brighton (2023 NY Slip Op 03152)





Matter of Save Monroe Ave., Inc. v Town of Brighton


2023 NY Slip Op 03152


Decided on June 9, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 9, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, BANNISTER, MONTOUR, AND GREENWOOD, JJ.


520 CA 22-00537

[*1]IN THE MATTER OF SAVE MONROE AVE., INC., 2900 MONROE AVE., LLC, CLIFFORDS OF PITTSFORD, L.P., ELEXCO LAND SERVICES, INC., JULIA D. KOPP, MARK BOYLAN, ANNE BOYLAN AND STEVEN M. DEPERRIOR, PETITIONERS-APPELLANTS,
vTOWN OF BRIGHTON, NEW YORK OFFICE OF THE BUILDING INSPECTOR, RAMSEY BOEHNER, IN HIS CAPACITY AS BUILDING INSPECTOR, TOWN OF BRIGHTON ZONING BOARD OF APPEALS, TOWN OF BRIGHTON, DANIELE MANAGEMENT, LLC, DANIELE SPC, LLC, MUCCA MUCCA, LLC, MARDANTH ENTERPRISES, INC., AND M &amp; F, LLC, RESPONDENTS-RESPONDENTS. (PROCEEDING NO. 1.)  IN THE MATTER OF BRIGHTON GRASSROOTS, LLC, PETITIONER-APPELLANT, 
 TOWN OF BRIGHTON ZONING BOARD OF APPEALS, TOWN OF BRIGHTON, NEW YORK OFFICE OF THE BUILDING INSPECTOR, TOWN OF BRIGHTON, M &amp; F, LLC, DANIELE SPC, LLC, MUCCA MUCCA, LLC, MARDANTH ENTERPRISES, INC., DANIELE MANAGEMENT, LLC, COLLECTIVELY DOING BUSINESS AS DANIELE FAMILY COMPANIES, RESPONDENTS-RESPONDENTS, ET AL., RESPONDENTS. (PROCEEDING NO. 2.) (APPEAL NO. 3.) 






HODGSON RUSS LLP, BUFFALO (AARON M. SAYKIN OF COUNSEL), FOR PETITIONERS-APPELLANTS IN PROCEEDING NO. 1.
THE ZOGHLIN GROUP, PLLC, ROCHESTER (MINDY L. ZOGHLIN OF COUNSEL), FOR PETITIONER-APPELLANT IN PROCEEDING NO. 2. 
WEAVER MANCUSO BRIGHTMAN PLLC, ROCHESTER (JOHN A. MANCUSO OF COUNSEL), FOR RESPONDENTS-RESPONDENTS TOWN OF BRIGHTON, NEW YORK OFFICE OF THE BUILDING INSPECTOR, RAMSEY BOEHNER, IN HIS CAPACITY AS BUILDING INSPECTOR, TOWN OF BRIGHTON ZONING BOARD OF APPEALS, AND TOWN OF BRIGHTON. 

MUCCA, LLC, MARDANTH ENTERPRISES, INC., AND M &amp; F, LLC. 


	Appeals from an amended order of the Supreme Court, Monroe County (J. Scott Odorisi, J.), entered March 9, 2022, in proceedings pursuant to CPLR article 78. The amended order dismissed the petitions. 
It is hereby ORDERED that said appeals are unanimously dismissed without costs (see Hughes v Nussbaumer, Clarke &amp; Velzy , 140 AD2d 988, 988 [4th Dept 1988]; Chase Manhattan Bank, N.A. v Roberts &amp; Roberts , 63 AD2d 566, 567 [1st Dept 1978]; see also  CPLR 5501 [a] [1]).
Entered: June 9, 2023
Ann Dillon Flynn
Clerk of the Court








